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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

UNITED STATES OF AMERICA           §
                                   §
V.                                 §                            CRIMINAL NO. H-00-118
                                   §
OZIEL CARDENAS-GUILLEN, a/k/a      §
INGENIERO, EL SENOR, NOVENTA Y UNO,§
and FANTASMA

                           ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the Government moved for
detention in this case. Defendant waived his right to a detention hearing. That waiver is entered in the
record as Dkt. No.96. I conclude that the following facts are established by a preponderance of the
evidence or clear and convincing evidence and require the detention of the defendant pending trial in
this case.

                                           Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

  [ ] (1)       The defendant has been convicted of a (federal offense) (state or local offense that
                would have been a federal offense if a circumstance giving rise to federal jurisdiction
                had existed) that is

                    []      a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                    []      an offense for which the maximum sentence is life imprisonment or death.

                    []      an offense for which a maximum term of imprisonment of ten years or
                            more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                            ( ) § 955(a).

                    []      a felony that was committed after the defendant had been convicted of two
                            or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                            (A)-(C), or comparable state or local offenses.

        [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                pending trial for a federal, state or local offense.

        [ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release
                of the defendant from imprisonment) for the offense described in finding 1.

        [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
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                 combination of conditions will reasonably assure the safety of any other person and the
                 community. I further find that the defendant has not rebutted this presumption.

[X]    B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [X] (1)       There is probable cause to believe that the defendant has committed an offense

                     [X]     for which a maximum term of imprisonment of ten years or more is
                             prescribed in 21 U.S.C.
                             (X) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                     []      under 18 U.S.C. § 924(c).

       [ ] (2) The defendant has not rebutted the presumption established by finding 1 that no
               condition or combination of conditions will reasonably assure the appearance of the
               defendant as required and the safety of the community.

[X]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [X] (1) Defendant is accused of conspiracy to possess with intent to distribute over 5
              kilograms of cocaine and 1000 kilograms or more of marijuana, aiding and abetting a
              criminal enterprise, and threatening to assault and murder a law enforcement officer.


       [X] (2) There is a serious risk that the defendant will flee.

       [X] (3)         Defendant represents a danger to the community.

       [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
               (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1) As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [X] (3)       I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                     § 3142(c) which will reasonably assure the appearance of the defendant as
                     required.

       [X] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the safety of any other person or the
               community.


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                             Written Statement of Reasons for Detention

       I find that the accusations in the indictment and the information submitted in the Pretrial
Services Agency report establish by a preponderance of the evidence that no condition or combination
of conditions will reasonably assure the appearance of the defendant as required and by clear and
convincing evidence that no conditions will assure the safety of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

        1.      Defendant is a 39 year old citizen of Mexico with no legal status in the United States.
                ICE will issue a detainer against him.

        2.      Defendant is charged with conspiracy to possess with intent to distribute over 5
                kilograms of cocaine and 1000 kilograms or more of marijuana, aiding and abetting a
                criminal enterprise, and threatening to assault and murder a law enforcement officer.
                Defendant faces a potential penalty of ten years to life imprisonment.

        3.      Defendant has a prior conviction for possession with intent to distribute cocaine.

        4.      Defendant is identified in the indictment in this case as the principal leader of a
                criminal enterprise engaged in drug trafficking. As the leader of this enterprise, he is
                accused of authorizing numerous acts of violence, including murders.

        5.      There is no condition or combination of conditions of release which would assure the
                appearance of the defendant in court or the safety of the community. Detention is
                ordered.
                                   Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the
purpose of an appearance in connection with all court proceedings.


        Signed at Houston, Texas, on February 9, 2007.




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